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                          In the United States District Caurt
                              Northern District of Texas
                                    Dallas Division

   Jill Wilson,
           Ftaintiff,

   v.                                                  Civil Action No.3:x~-CV-obg8-B

   Best Way Express, Inc. and
   Rabert Lee Gray,                                                   Jury Demanded
          Defendants.

                            Ja~n~ Stipulatit~n ofDismissal

  To The Honorable Judge of Said Court:

         Fursuant to Rule ~i(a)(i)(A)(ii) ofthe Federal Rules of Civil ~'rocedure,
  Plaintiff Sill Wilsan and Defendants Best Way Express,Inc. and Robert Lee Gray,
  by and through their attorneys,

          Respectfully submit this Joint Stipulation of Dismissal of this action with
  prejudice, each party to bear their own costs and fees. The parries xequest that
  the Clerk of Court now close this case.


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                                 Respectfiilly Submitted,

                                 Bro»m Sims,P.C.

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                                Certificate ofService
                                                       foregoing instrument has been
 This is to certify that a true and correct copy o£the
                                                            the Federal Rules of Civil
 forwarded to a;I attoxneys of record in accordance with
                                              of Tesas'Local Rules via electronic filing
 Procedure as ~cvell as the Northern District
 on this the 2nd day of January, aoi8.

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